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                          THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  EASTERN DIVISION


JOHN BARNHARDT, ET AL.                                                                            PLAINTIFFS

and

UNITED STATES OF AMERICA                                                       PLAINTIFF INTERVENOR


v.                                         CIVIL ACTION NO. 4:65-cv-01300–HTW-LRA 1300(E)

MERIDIAN MUNICIPAL SEPARATE
SCHOOL DISTRICT, ET AL.                                                                         DEFENDANTS


         Response to Private Plaintiffs’ Motion for a Stay of Briefing to Respond to
District’s Motion for Declaration of Unitary Status and Request for Scheduling Conference


        1.       The NAACP Legal Defense Fund (“LDF”) has been actively involved in this

litigation for over fifty years on behalf of the Private Plaintiffs. In the past three years alone, the

District has provided 13,807 pages of documentation to LDF in response to requests for

information and through its court reports required under the 2013 Consent Order.1 Additionally,

as originally required under the 2013 Consent Order, LDF received the first eight reports

submitted by the District from the Government after redaction.2 Those reports number

approximately two thousand pages each.

        2.       The information provided to LDF has covered all of the Green factors, including

student assignment (including information on Gifted and Special Education), faculty, staff,

1
         See Exhibits 1 through 8 in support of this Response. Due to the volume of pages, the District will submit
a Notice of Conventional Filing with respect to these exhibits.
2
         LDF complains on pages three and four of its Memorandum in Support of Motion for Stay, [56], regarding
the time required by both the Government and the District for production of the redacted semi-annual reports;
however, there is no dispute LDF received the reports, nor do they allege they have had inadequate time to study and
evaluate the reports.
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transportation, facilities, and extracurricular activities, Intricate details of the District’s

compliance with and implementation of all procedures required under the 2013 Consent Order

have also been provided. Further, LDF has participated in multiple site visits in the District, has

met with District administrators, community members, teachers, and others to gather information

and evaluate the District’s compliance with its desegregation obligations.

        Additionally, the District met with LDF and the Government in November, 2017,

regarding its intention to seek unitary status. At that meeting, the District gave opposing counsel

a draft of its memorandum in support of motion for unitary status and asked for feedback from

opposing counsel. Following the November, 2017, meeting, LDF and the Government submitted

separate requests for information, and the District promptly responded. The District

supplemented its response to LDF’s requests in February, 2018. No feedback has been received

from LDF or the Government. For LDF to now allege it has insufficient information for it or its

experts to form a response to the District’s motion for declaration of unitary status is outrageous

and misleading to the Court.

        3.      The District objects to LDF’s request for wide-ranging, unnecessary discovery

into all aspects of the District’s operations. The District objects to the burdensome, unnecessary,

lengthy discover sought by LDF, because of the time, expense, and unnecessary delay it will

cause. This case has been pending for over fifty years. The District’s student enrollment is 91%

African American; the Board of Trustees is majority black; the Board President is black; the

District’s Superintendent is black, as were her two predecessors. Additionally, the 2013 Consent

Order contemplated the District would satisfy its requirements by the end of the 2016-2017

school year.




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         LDF has been an active participant in this case and has been given more than enough

information to respond to the District’s motion for declaration of unitary status. If LDF has an

objection to the District’s motion, it should be required to identify the specific area or areas of

concerns before beginning full-fledged discovery. The Court can then limit the discovery

allowed to those specific areas of concern identified by LDF.3

         4.       The District does not seek to shirk its burden of showing it has 1) eliminated all

vestiges of de jure discrimination to the extent practicable; 2) complied with this Court’s

desegregation orders for a reasonable period of time; and, 3) demonstrated its good-faith

commitment to the constitutional rights that were the original predicate for the injunctive relief

this Court awarded. Freeman v. Pitts, 503 U.S. 467, 491 (1992); Board of Education v. Dowell,

498 U.S. 237, 249-50 (1991). The District recognizes the necessity for, and indeed has

requested, a Fairness Hearing on its motion for declaration for unitary status. The District also

recognizes the Court may set deadlines for discovery and expert-related discovery prior to the

requested hearing. The District will cooperate with all deadlines set by the Court in resolving

this matter.

         5.       The District respectfully requests the Court deny the Private Plaintiffs’ motion to

stay briefing on the District’s Motion for Declaration of Unitary Status and require the Private

Plaintiffs (and the Government) to respond to the District’s motion identifying specific topics of

concern—if any—prior to setting deadlines for discovery, expert discovery, or hearing on the

District’s motion.




3
          In its Response to the District’s motion for unitary status, [58], LDF has stated no objections to the
District’s motion in the areas of transportation, faculty, staff, facilities, or extracurricular activities. LDF’s
objections are limited to four areas: student assignment, inter-district transfers, quality of education, and racial
disparities in discipline. Id.

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       6.      In support of this Response, the District relies on the following exhibits being

filed conventionally with the Clerk of Court:

       Ex. 1: 2015 LDF Response (MPSD-000001-477)

       Ex. 2: 2016 LDF Response (MPSD-000478-3607)

       Ex. 3: 2016 Supplement (MPSD-003608-3720)

       Ex. 4: August 1, 2017, Report (Combined - redacted) (MPSD-003721-5908)

       Ex. 5: 8.30.17 DOJ Response (redacted) (MPSD-005909-6252)

       Ex. 6: 2017 DOJ Response (redacted) (MPSD-006253-10889)

       Ex. 7: 2017 LDF Response (MPSD-010890-11498)

       Ex. 8: February 2018 Report (Combined - redacted) (MPSD-011499-13807).

       Respectfully submitted, this 19th day of April, 2018.

                                                MERIDIAN PUBLIC SCHOOL DISTRICT


                                                /s/ John S. Hooks


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And

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                                 CERTIFICATE OF SERVICE


       I do hereby certify that on this date, I filed electronically the foregoing with the Clerk of
this Court using the CM/ECF system which will send notification of filing to all registered
counsel of record.

       Dated: April 19, 2018.

                                               /s/ John S. Hooks




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